       Case 3:06-cr-00317-SRU             Document 127       Filed 10/26/07      Page 1 of 1




                             UNITED STATES DISTRICT COURT
                               DISTRICT OF CONNECTICUT

UNITED STATES OF AMERICA              :

               V.                     :                CRIMINAL NO. 3:06CR00317(SRU)

LUIS MOJICA                           :


                        ORDER FOR PRODUCTION OF RECORDS

       WHEREAS the defendant Luis Mojica, has pled guilty to a violation of 21 U.S.C. §§ 846

and 841(a)(1), (b)(1)(A)111(a)(1), and is awaiting sentencing; and

       WHEREAS this Court is aware that he was convicted in Superior Court GA02, Bridgeport,

Connecticut as a Youthful Offender in Dkt. No. CR99-0155433, which case was disposed of on

November 28, 2001, and this Court requires more information than is otherwise available in order

to address the sentencing purposes, pursuant to 18 U.S.C. § 3553(a), it is hereby

        ORDERED that the Connecticut Superior Court and/or State Probation Office provide any

and all records pertaining to Dkt. No. CR99-0155433 to the United States Probation Office to assist

this Court in imposing sentencing in this case.



       So ordered this 26th day of October 2007 at Bridgeport, Connecticut.




                                                  /s/ Stefan R. Underhill
                                                        Stefan R. Underhill
                                                        United States District Judge
